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           In the United States Court of Federal Claims
                                         No. 20-399
                                   (Filed: 19 March 2021)
                                  NOT FOR PUBLICATION

***************************************
WILLIE MACK YOUNG,                    *
                                      *
                  Plaintiff,          *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant.          *
                                      *
***************************************

       Willie Mack Young, Albion, PA, pro se.

       Robert R. Kiepura, Trial Attorney, with whom were Jeffrey Bossert Clark, Acting
Assistant Attorney General, Robert E. Kirschman, Jr., Director, Steven J. Gillingham, Assistant
Chief, Commercial Litigation Branch, Civil Division, U.S. Department of Justice, all of
Washington, D.C., for defendant.

                                   OPINION AND ORDER

HOLTE, Judge.

        Pro se plaintiff Willie Mack Young filed an amended complaint alleging unjust
conviction and imprisonment and violation of several constitutional provisions. See Aff. – Req.
to File an Am. Compl., ECF No. 13 (“Am. Compl.”). The government moved to dismiss
Mr. Young’s claims pursuant to Rule 12(b)(1) of the Rules of the Court of Federal Claims
(“RCFC”). See Def.’s Mot. to Dismiss for Lack of Subject-Matter Jurisdiction, ECF No. 14
(“Gov’t MTD”). For the following reasons, the Court GRANTS the government’s motion to
dismiss.

I. Procedural and Factual History

        On 26 March 2020, Mr. Young commenced the present action. See Compl., ECF No. 1.
The government filed a motion to dismiss on 24 June 2020. See Def.’s Mot. to Dismiss for Lack
of Subject-Matter Jurisdiction, ECF No. 11. On 13 July 2020, the Court accepted a document
filed by Mr. Young and titled “Affidavit – Request to File an Amended Complaint” as an
amended complaint. See Order, ECF No. 12; Am. Compl. The government filed a motion to
dismiss the amended complaint on 21 July 2020. See Gov’t MTD. Mr. Young failed to respond
to the government’s motion to dismiss, and on 8 September 2020 the Court issued an order
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directing Mr. Young to respond to the government’s motion to dismiss on or before 6 October
2020 or risk dismissal of the amended complaint for failure to prosecute. See Order, ECF No.
15. On 30 October 2020, the Court accepted a document filed by Mr. Young on 19 October
2020 and titled “Affidavit Amended Complaint in Opposition to Defendants [sic] Motion to
Dismiss” as a response to the government’s motion to dismiss. See Order, ECF No. 16; Aff. Am.
Compl. in Opp’n to Def.’s Mot. to Dismiss, ECF No. 17 (“Pl.’s Resp.”). The government filed a
reply in support of its motion to dismiss on 12 November 2020. See Def.’s Reply in Supp. of its
Mot. to Dismiss for Lack of Subject-Matter Jurisdiction, ECF No. 18 (“Gov’t Reply”).

        Mr. Young’s amended complaint lists the following defendants he claims “acted under
color of state law . . . [and are] sued in [their] individual capacity”: “Michael Clark,
Superintendent Albion SCI,” “Dennis E. Reinaker, President Judge,” “Richard Simms, District
Justice,” “Richard Gray, Mayor,” “Louise Williams, City Council President,” “Daniel Kaye,
Lancaster County Assistant District Attorney,” “Todd Grager, Lancaster City Police Officer,”
and “Les Neri, Fraternal Order of Police President State Police.” Am. Compl. ¶ 4. Mr. Young
further alleges “fraud on the court,” stating “Daniel Kaye was never my attorney,” id. ¶ 17, and a
violation of Federal Rules of Evidence (“FRE”) Rule 609, id. ¶ 20. Mr. Young also asserts a
claim under the Rehabilitation Act of 1973, 29 U.S.C. § 794, id. ¶¶ 21–24, challenges under the
Eighth Amendment and due process, id. ¶ 25, and claims under the Americans with Disabilities
Act (“ADA”), id. ¶¶ 19, 21–24. Mr. Young additionally challenges the denial of his habeas
corpus petition as affirmed by the Third Circuit. Id. ¶¶ 10–16, 25–28. See generally Young v.
Gilmore, No. CV 16-6406, 2017 WL 5483787 (E.D. Pa. Nov. 14, 2017) (aff’d sub nom. Young v.
Superintendent Albion SCI, No. CV 17-3758, 2018 WL 3064290 (3d Cir. Mar. 22, 2018)).

II. Applicable Law

       A. RCFC 12(b)(1) – Lack of Subject-Matter Jurisdiction

        Plaintiffs “bear the burden of establishing the court’s jurisdiction by a preponderance of
the evidence.” Acevedo v. United States, 824 F.3d 1365, 1368 (Fed. Cir. 2016) (citing Trusted
Integration, Inc. v. United States, 659 F.3d 1159, 1163 (Fed. Cir. 2011)). “In determining
jurisdiction, a court must accept as true all undisputed facts asserted in the plaintiff’s complaint
and draw all reasonable inferences in favor of the plaintiff.” Id. (quoting Trusted Integration,
659 F.3d at 1163) (internal quotation marks omitted). The Court, however, is “not required to
accept the asserted legal conclusions.” Am. Bankers Ass’n v. United States, 932 F.3d 1375, 1380
(Fed. Cir. 2019) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

       B. Pro Se Litigants

        Pro se litigants are granted greater leeway in pleadings than parties represented by
counsel. See Haines v. Kerner, 404 U.S. 519, 520–21 (1972) (noting pro se complaints are held
to “less stringent standards than formal pleadings drafted by lawyers”). The Court further
recognizes “[w]hile a court should be receptive to pro se plaintiffs and assist them, justice is ill-
served when a jurist crosses the line from finder of fact to advocate.” Demes v. United States, 52
Fed. Cl. 365, 369 (2002). The Court accordingly may excuse certain ambiguities in a pro se
plaintiff’s complaint, but “does not excuse its failures, if such there be.” See Henke v. United
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States, 60 F.3d 795, 799 (Fed. Cir. 1995). In addition, this Court has long recognized “the
leniency afforded to a pro se litigant with respect to mere formalities does not relieve the burden
to meet jurisdictional requirements.” Minehan v. United States, 75 Fed. Cl. 249, 253 (2007).
The pro se plaintiff—like any other plaintiff—must establish the Court's jurisdiction to consider
a claim. Riles v. United States, 93 Fed. Cl. 163, 165 (2010).

III. Discussion

       A. Parties’ Arguments

        Mr. Young’s amended complaint challenges the denial of his habeas corpus petition and
makes various allegations against state and local government officials. See Am. Compl. He
argues this Court has jurisdiction over his claims pursuant to 28 U.S.C. §§ 1331–33, 1343(a)(3),
and 1367 in his amended complaint. See id. ¶¶ 5–7.

        The government argues this Court, as a court of limited jurisdiction, lacks jurisdiction
over any of Mr. Young’s claims. Gov’t MTD at 1, 4. The government argues in the alternative
Mr. Young has recently filed a substantively identical amended complaint “in a case pending in
the [Eastern District of Pennsylvania]” and the Court does not have “jurisdiction to entertain any
claim a plaintiff ‘has pending in any other court . . . against the United States.’” Id. (quoting 28
U.S.C. § 1500). On Mr. Young’s criminal convictions, the government argues the Court “does
not possess the power to review and to overturn convictions.” Id. at 5 (citing Humphrey v.
United States, 52 Fed. Cl. 593, 596 (2002)). The government notes instead this Court “may hear
a claim for money damages related to unjust imprisonment . . . only after a court has reversed a
plaintiff’s conviction on the grounds of innocence or if the President of the United States has
pardoned the plaintiff.” Id. (citing Brown v. Unites States, 42 Fed. Cl. 139, 141–142 (1998); Lott
v. United States, 11 Cl. Ct. 852, 853 (1987)). The government additionally argues none of the
statutes listed in Mr. Young’s amended complaint confer jurisdiction on the Court. Id. at 6.
Lastly, the government notes the Court does not have jurisdiction over claims asserted against
individual defendants. Id. (citing United States v. Sherwood, 312 U.S. 584, 588 (1941)).

        Mr. Young does not cite any money-mandating statutes in his response. See Pl.’s Resp.
Mr. Young’s response makes additional allegations against individual defendants, see, e.g. id. at
4–5 (“[M]y bail was . . . revoked by an unauthorized person (Richard Simms)”), 9 (referring to
Louise Williams and Rick Gray and alleging “Lancaster Municipality . . . had never formally
adopted state regulations, procedures contained in the state criminal code, which officers must
follow, to have procedures in place when (police) make arrests.”), cites to Federal Rule of Civil
Procedure (“FRCP”) 60(b)(4), id. at 2, 7–9, and invokes the Fifth, Sixth, and Fourteenth
Amendments, id. at 5–6, and 42 U.S.C. § 1983, id. at 3, 10.

       In its reply, the government argues the Court does not have jurisdiction to grant relief
from a judgment by a court of the Commonwealth of Pennsylvania or by the United States Court
of Appeals for the Third Circuit. Gov’t Reply at 1.

       B. Analysis


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        The ability of the Court of Federal Claims to entertain suits against the United States is
limited, and the waiver of immunity “may not be inferred, but must be ‘unequivocally
expressed.’” United States v. White Mountain Apache Tribe, 537 U.S. 465, 472 (2003) (quoting
United States v. Mitchell, 445 U.S. 535, 538 (1980)). The Tucker Act grants this Court
jurisdiction over “any claim against the United States founded either upon the Constitution, or
any Act of Congress or any regulation of an executive department, or upon any express or
implied contract with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.” 28 U.S.C. § 1491(a)(1). “The Tucker Act . . . is itself only a jurisdictional
statute; it does not create any substantive right enforceable against the United States for money
damages. . . . [T]he Act merely confers jurisdiction upon it whenever the substantive right
exists.” United States v. Testan, 424 U.S. 392, 398 (1976).

                1. Statutory Jurisdiction

           Mr. Young argues this Court has jurisdiction under 28 U.S.C. §§ 1331–33, 1343(a)(3),
and 1367. Am. Compl. ¶¶ 5–7. The Court of Federal Claims does not have jurisdiction under
any of these statutes, as Congress has granted the district courts exclusive jurisdiction over each
of them. See 28 U.S.C. §§ 1331 (“The district courts shall have original jurisdiction of all civil
actions . . . .”), 1332 (“The district courts shall have original jurisdiction of all civil actions
. . . .”), 1333 (“The district courts shall have original jurisdiction, exclusive of the courts of the
States . . . .”), 1343 (“The district courts shall have original jurisdiction of any civil action . . . .”),
and 1367 (“[I]n any civil action of which the district courts have original jurisdiction, the district
courts shall have supplemental jurisdiction over all other claims that are so related to claims in
the action within such original jurisdiction . . . .”). “The Court of Federal Claims is not a district
court of the United States . . . .” Ledford v. United States, 297 F.3d 1378, 1382 (Fed. Cir. 2002)
(affirming this Court’s dismissal for lack of jurisdiction of a claim brought under a statute
granting exclusive jurisdiction to the district courts). The Court therefore cannot exercise
jurisdiction under these statutes. See id.; see also United States v. King, 395 U.S. 1, 2–3 (1969)
(finding the jurisdiction of this Court’s predecessor is “limited to actions asking for money
judgments”).

                2. Claims Against Individual Defendants

        Mr. Young lists several individuals as defendants. Am. Compl. ¶ 4. The Court of
Federal Claims does not have jurisdiction over claims against individual defendants. United
States v. Sherwood, 312 U.S. 584, 588 (1941) (stating this Court’s predecessor “is without
jurisdiction of any suit brought against private parties”). The Court therefore cannot exercise
jurisdiction over these claims. See id.; see also King, 395 U.S. at 2–3.

                3. Habeas Corpus Petition Claim

         Mr. Young challenges the denial of his habeas corpus petition by the United States
District Court for the Eastern District of Pennsylvania. Am. Compl. ¶¶ 10–16, 26–28 (“The state
court’s affirmance of affiant [sic] conviction was an unreasonable application of Jackson v.
Virginia.”). “[T]he Court of Federal Claims does not have jurisdiction to review the decisions of
district courts . . . .” Joshua v. United States, 17 F.3d 378, 380 (Fed. Cir. 1994). Additionally,
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the Court of Federal Claims does not have “jurisdiction to review convictions in criminal cases.”
Harris v. United States, 868 F.3d 1376, 1381 (Fed. Cir. 2017) (citing Sanders v. United States,
252 F.3d 1329, 1333 (Fed. Cir. 2001)). The Court therefore cannot exercise jurisdiction over this
claim. See id.; Joshua, 17 F.3d at 380; see also King, 395 U.S. at 2–3.

               4. Federal Rules Claims

         Mr. Young alleges violations of FRE Rule 609 and FRCP 60(b)(4). Am. Compl. ¶ 20
(citing the legislative history of Rule 609), Pl.’s Resp. at 2 (“No time limit on Rule 60(b)(4)
attack on a judgment as void for lack of jurisdiction” (citing Briley v. Hidalgo, 981 F.2d 246, 249
(5th Cir. 1993))), 7–9. The FRE “shall not abridge, enlarge or modify any substantive right.” 28
U.S.C. § 2072(b). Therefore, the FRE “do not create an enforceable right for money damages
against the United States,” and the Court of Federal Claims does not have jurisdiction over a
claim of a violation of the FRE. Pikulin v. United States, 97 Fed. Cl. 71, 76–77 (2011); see also
Amchem Products, Inc. v. Windsor, 521 U.S. 591, 613 (1997) (“[R]ules of procedure ‘shall not
abridge, enlarge or modify any substantive right’ . . . .”) (quoting 28 U.S.C. § 2072(b)).
Similarly, the FRCP “do not extend or limit the jurisdiction of the district courts.” FRCP 82.
The Court of Federal Claims does not have jurisdiction over a claim of a violation of the FRCP.
See Amchem Products, 521 U.S. at 613. The Court therefore cannot exercise jurisdiction over
these claims. See id., Pikulin, 97 Fed. Cl. at 76–77; see also King, 395 U.S. at 2–3.

               5. Rehabilitation Act Claim

       Mr. Young asserts a claim under the Rehabilitation Act of 1973. Am. Compl. ¶¶ 21–24
(“The Rehabilitation Act prevents discrimination ‘solely by reason of’ disability.” (quoting 29
U.S.C. § 794)). The Court of Federal Claims does not have jurisdiction over claims under the
Rehabilitation Act as “jurisdiction for such claims lies exclusively with the district courts.”
Bobka v. United States, 133 Fed. Cl. 405, 412 (2017) (citing Searles v. United States, 88 Fed.Cl.
801, 805 (2009)). The Court therefore cannot exercise jurisdiction over this claim. See id.; see
also King, 395 U.S. at 2–3.

               6. Civil Rights Claims

         Mr. Young invokes 42 U.S.C. § 1983 and the Fifth, Sixth, Eighth, and Fourteenth
Amendments. See Pl.’s Resp. at 3 (citing James v. Richman, 547 F.3d 214 (3d Cir. 2008) for the
proposition “[f]ederal courts should not abstain from § 1983 actions where state policy has
created a de facto exhaustion requirement, because state remedies need not be exhausted as
prerequisite to § 1983 action in federal court”), 5–6 (claiming Richard Simms “den[ied] plaintiff
the right to the (5th) Fifth Amendment, due process and due process (substantive), and denied
and violated plaintiff of his right to the (14th) Amendment to the United States Constitution, the
right to equal protection of the law. And denied and violated plaintiff’s right to the Six [sic] (6)
Amendment, the right to the accused of a fair trial.”), 10 (citing Tarver v. City of Edna, 410 F.3d
735 (5th Cir. 2005) for the proposition “Psychological injuries can serve as a basis for § 1983
liability”); Am. Compl. ¶ 25 (“The successive petition requirements do not apply to plaintiff’s
8th Amendment and due process of law challenges”). The Court of Federal Claims does not
have jurisdiction over civil rights claims, whether brought under 42 U.S.C. § 1983 or any of the
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constitutional amendments. See Trafny v. United States, 503 F.3d 1339, 1340 (Fed. Cir. 2007)
(“The Court of Federal Claims does not have jurisdiction over claims arising under the Eighth
Amendment . . . .”); LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995) (The
“complaint included counts alleging violation of [plaintiff’s] rights under the Due Process
Clauses of the Fifth and Fourteenth Amendments . . . None of these is a sufficient basis for
jurisdiction . . . .”); Milas v. United States, 42 Fed. Cl. 704, 710, aff’d, 217 F.3d 854 (Fed. Cir.
1999) (the “Sixth Amendment[] [is] not money mandating and, consequently, cannot combine
with the Tucker Act to provide the [Court of Federal Claims] jurisdiction.”); Ealy v. United
States, 120 Fed. Cl. 801, 805 (2015) (“[T]he Court lacks jurisdiction to reach [plaintiff’s] claims
that his civil rights under the Fourth Amendment, the Fifth Amendment Due Process Clause, the
Fourteenth Amendment or Federal Civil rights laws were violated.”); Schweitzer v. United
States, 82 Fed. Cl. 592, 595–96 (2008) (The Court of Federal Claims “does not have jurisdiction
over the plaintiffs' civil rights claims brought under 42 U.S.C. §§ [sic] 1983, 1985 or 1986
(2000), because it is well-settled that jurisdiction over such claims lies exclusively in the district
courts.”). The Court therefore cannot exercise jurisdiction over these claims. See Trafny, 503
F.3d at 1340, LeBlanc, 50 F.3d at 1028, Milas, 42 Fed. Cl. at 710, Ealy, 120 Fed. Cl. at 805,
Schweitzer, 82 Fed. Cl. at 595–96; see also King, 395 U.S. at 2–3.

               7. ADA Claims

        Lastly, Mr. Young asserts claims under the ADA. Am. Compl. ¶¶ 19 (“Plaintiff is
regarded as disabled within the meaning of the Americans with Disabilities Act”), 21–24 (“So
the ADA can’t provide a worse outcome than the Rehabilitation Act, but it might in theory
provide a better one.”). The Court of Federal Claims lacks jurisdiction over claims brought
under the Americans with Disabilities Act. Pierce v. United States, 117 Fed. Cl. 798, 801
(2014), aff’d, 590 Fed. App’x 1000 (Fed. Cir. 2015) (The Court of Federal Claims “lacks subject
matter jurisdiction over an ADA claim.”). The Court therefore cannot exercise jurisdiction over
these claims. See id.; see also King, 395 U.S. at 2–3.

       C. Summary

        This Court thus lacks jurisdiction over all of Mr. Young’s claims. While Mr. Young’s
complaint is subject to “less stringent standards” as a pro se plaintiff, Haines v. Kerner, 404 U.S.
519, 520–21 (1972), the Court was unable to find a valid basis for jurisdiction after generously
construing Mr. Young’s complaint. To the extent not discussed specifically herein, Mr. Young’s
other claims are unpersuasive, meritless, or unnecessary for resolving the issues currently before
the Court.

IV. Conclusion

        The Court has considered all of Mr. Young’s arguments. The Court of Federal Claims
lacks subject-matter jurisdiction to consider Mr. Young’s challenge to the denial of his habeas
corpus petition and his various other claims. Because the Court finds it lacks subject-matter
jurisdiction, it does not reach the Government’s argument regarding 28 U.S.C. § 1500.
Accordingly, the Court hereby GRANTS the government’s motion to dismiss pursuant to RCFC
12(b)(1). The Clerk is directed to DISMISS the case.
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IT IS SO ORDERED.


                                   s/ Ryan T. Holte
                                   RYAN T. HOLTE
                                   Judge




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